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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                 NO. 4:11CR00156-14 JLH

RONALD CLYDE WHITE                                                                 DEFENDANT

                                            ORDER

       Pursuant to the mandate issued by the United States Court of Appeals for the Eighth Circuit,

the indictment as to this defendant is hereby dismissed.

       IT IS SO ORDERED this 22nd day of April, 2014.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
